Case 3:19-cv-00014-NKM-JCH Document 16 Filed 11/12/19 Page 1of2 Pageid#: 48

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

DAVID OLENICK, et al.,

Plaintiffs,
V. Civil Action No. 3:19-cv-00014
THE TJX COMPANIES, INC.

Defendant.

NOTICE OF DISMISSAL WITH PREJUDICE

The Plaintiffs, David Olenick and Capital Concepts, Inc. dba bCreative, Inc., pursuant to
Federal Rule of Civil Procedure 41(a)(1)(A)(i) hereby inform the Court that this action and all
claims alleged herein against Defendant The TJX Companies, Inc., who has not filed an answer
or motion for summary judgment, are DISMISSED WITH PREJUDICE.

Respectfully submitted this 12" day of November 2019.

DAVID OLENICK

and

CAPITAL CONCEPTS, INC.
dba bCreative, Inc.

By Counsel

/s/Andrew S. Baugher

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Case 3:19-cv-00014-NKM-JCH Document 16 Filed 11/12/19 Page 2o0f2 Pageid#: 49

CERTIFICATE

I hereby certify that on November 12, 2019, I electronically filed the foregoing Notice of
Dismissal with the Clerk of Court using the CM/ECF system and also emailed a true copy of
same to:

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/s/ Andrew S. Baugher
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